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     Federal Defender
2    LINDA C. HARTER, CA Bar #179741
     Chief Assistant Federal Defender
3    Designated Counsel for Service
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4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
6    Attorney for Defendant
     CECILE LOUISE GREATHOUSE
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8
9                          IN THE UNITED STATES DISTRICT COURT
10                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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12
13   UNITED STATES OF AMERICA,       )        No. Cr. S 98-068 JAM
                                     )
14                  Plaintiff,       )
                                     )        JOINT STIPULATION TO DISMISS
15        v.                         )        PETITION FILED 8/3/09 AND
                                     )        CONTINUE ON SUPERVISION; ORDER
16   CECILE LOUISE GREATHOUSE,       )
                                     )
17                  Defendant.       )
                                     )        Time:
18   _______________________________ )        Judge: Hon. John A. Mendez
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20
21   BACKGROUND
22        Ms. Greathouse’s 60 month term of supervised release began in
23   March of 2007.     The petition to revoke supervision was filed on August
24   3, 2009 and concerns a theft allegation dating back to November 23,
25   2008.   This incident occurred at Ms. Greathouse’s previous place of
26   employment.
27        Ms. Greathouse is currently employed full-time.            She lives and
28   works in the Fresno area.       She is supervised by Mr. Pulido from U.S.
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1    Probation in Fresno.       She is otherwise in compliance with her terms of
2    supervision.
3    THE STIPULATION
4          It is the opinion of probation and the parties that this incident
5    does not warrant revocation of supervision and that Ms. Greathouse does
6    not pose a danger to the community.          For this reason, the parties and
7    probation are requesting that the Court dismiss the Petition filed
8    August 3, 2009.      The parties, with the full agreement of the probation
9    officer, believe that Ms. Greathouse should be continued supervision
10   under the same terms and conditions except that the parties further
11   agree that an additional condition of supervision requiring 100 hours
12   of community service should be added as a sanction for this incident.
13   The parties jointly request that this matter be addressed by
14   stipulation so that neither the defendant, nor the probation officer,
15   will need to travel from Fresno to attend a Court hearing.
16
17   Dated:     September 21, 2009
                                               Respectfully submitted,
18
                                               DANIEL J. BRODERICK
19                                             Federal Defender
20                                             Linda C. Harter
                                               ________________________________
21                                             LINDA C. HARTER
                                               Chief Assistant Federal Defender
22                                             Attorney for Defendant
                                               CECILE LOUISE GREATHOUSE
23
24                                             LAWRENCE G. BROWN
                                               U.S. Attorney
25
                                               Jason S. Hitt
26                                             __________________________________
                                               JASON S. HITT
27                                             Assistant U.S. Attorney
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     Stipulation/Order re: Petition           -2-
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1                                          ORDER
2          For the reason set forth in the Stipulation, the Petition For
3    Warrant or Summons for Offender Under Supervision, filed August 3,
4    2009, is hereby dismissed.       The defendant, Cecile Louise Greathouse, is
5    to remain under supervision under the terms and conditions previously
6    set with the added condition that she complete 100 hours of community
7    service before the end of her supervision.
8
     Dated: September 21, 2009               /s/ John A. Mendez
9                                            HON. JOHN A. MENDEZ
                                             U.S. District Court Judge
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     Stipulation/Order re: Petition         -3-
